Case 2:15-ml-02668-PSG-SK Document 1232-1 Filed 02/09/24 Page 1 of 11 Page ID
                                 #:45538


  1   Beth A. Wilkinson (admitted pro hac vice)
      Brian L. Stekloff (admitted pro hac vice)
  2   Rakesh N. Kilaru (admitted pro hac vice)
      Jeremy S. Barber (admitted pro hac vice)
  3   WILKINSON STEKLOFF LLP
      2001 M Street NW, 10th Floor
  4   Washington, DC 20036
      Telephone: (202) 847-4000
  5   Facsimile: (202) 847-4005
      bwilkinson@wilkinsonstekloff.com
  6   bstekloff@wilkinsonstekloff.com
      rkilaru@wilkinsonstekloff.com
  7   jbarber@wilkinsonstekloff.com
  8   Gregg H. Levy (admitted pro hac vice)
      Derek Ludwin (admitted pro hac vice)
  9   John S. Playforth (admitted pro hac vice)
      COVINGTON & BURLING LLP
 10   One CityCenter, 850 10th Street NW
      Washington, D.C. 20001
 11   Telephone: (202) 662-6000
      Facsimile: (202) 778-5429
 12   glevy@cov.com
      dludwin@cov.com
 13   jplayforth@cov.com
 14   Counsel for Defendants National Football
      League, NFL Enterprises LLC, and the
 15   Individual NFL Clubs
 16
                                    UNITED STATES DISTRICT COURT
 17
                                 CENTRAL DISTRICT OF CALIFORNIA
 18

 19     IN RE: NATIONAL FOOTBALL                       Case No. 2:15-ml-02668−PSG (SKx)
 20
        LEAGUE’S “SUNDAY TICKET”                       DEFENDANTS’ REPLY IN
        ANTITRUST LITIGATION                           SUPPORT OF MOTION IN
 21     ______________________________                 LIMINE NO. 5 TO EXCLUDE
                                                       CERTAIN OPINIONS OF DANIEL
 22                                                    A. RASCHER
        THIS DOCUMENT RELATES TO:
 23                                                    Judge: Hon. Philip S. Gutierrez
        ALL ACTIONS
 24
                                                       Date: May 17, 2024
                                                       Time: 2:30 p.m.
 25                                                    Courtroom: First Street Courthouse
 26                                                               350 West 1st Street
                                                                  Courtroom 6A
 27                                                               Los Angeles, CA 90012
 28
       Case No. 2:15-ml-02668-PSG (SKx)        Defendants’ Reply In Support Of Motion In Limine No. 5 To Exclude
                                               Certain Opinions Of Daniel A. Rascher
Case 2:15-ml-02668-PSG-SK Document 1232-1 Filed 02/09/24 Page 2 of 11 Page ID
                                 #:45539


  1           The recently revised Rule 702 squarely places the burden on the proponent of
  2   expert testimony to prove that the expert’s opinion “reflects a reliable application of
  3   the principles and methods to the facts of the case.” Fed. R. Evid. 702. Plaintiffs’
  4   opposition brief, ECF No. 1206-1, Pls.’ Mem. Supp. Opp. Defs.’ Motion in Limine
  5   No. 5 (“Opp.”), fails to satisfy that newly emphasized burden as to Dr. Rascher’s
  6   opinions regarding (i) the but-for world absent the challenged horizontal conduct,
  7   (ii) damages calculations, and (iii) the commercial class. These opinions accordingly
  8   should be excluded under Rules 103, 104, and 702.
  9
      I.      Plaintiffs Have Not Satisfied Rule 702 With Respect To Dr. Rascher’s
 10           Opinions Regarding The But-For World Absent The Challenged
              Horizontal Conduct.
 11

 12           Defendants showed in their opening motion that Dr. Rascher’s use of college

 13   football as the “yardstick” is not a reliable application of that methodology for three

 14   distinct and independently fatal reasons. Nothing in Plaintiffs’ opposition brief

 15   overcomes this failure to meet their Rule 702 burden.

 16           A.        Dr. Rascher’s yardstick does not address what would occur in a
                        world absent joint telecast licensing.
 17

 18
              To be admissible, Dr. Rascher’s yardstick must “compare[] the outcome of

 19
      interest in the affected market”—where “

 20
                                                   , ECF No. 962-4, Expert Report of Daniel

 21
      A. Rascher, dated February 17, 2023 (“Rep.”) ¶ 54—“to the same outcome in an

 22
      unaffected benchmark market.” In re Nat’l Football League’s Sunday Ticket

 23
      Antitrust Litig., 2023 WL 1813530, at *8, n.1 (C.D. Cal. Feb. 7, 2023). The NFL

 24
      Defendants explained that Dr. Rascher’s yardstick of

 25
                                                                             Rep. ¶ 325 n.436, is not

 26
      an “unaffected benchmark market” because

 27

 28
                      id. ¶ 54.

                                                   1
       Case No. 2:15-ml-02668-PSG (SKx)       Defendants’ Reply In Support Of Motion In Limine No. 5 To Exclude
                                              Certain Opinions Of Daniel A. Rascher
Case 2:15-ml-02668-PSG-SK Document 1232-1 Filed 02/09/24 Page 3 of 11 Page ID
                                 #:45540


  1           Plaintiffs’ response only reinforces that Dr. Rascher cannot identify a
  2   benchmark market in which the members of a sports league license telecasting rights
  3   separately. Plaintiffs note that there are some situations in which non-league college
  4   football games are not licensed by a league (in college, the conferences), citing the
  5   examples of independent football teams and inter-conference games. Opp. at 3–4.
  6   The licensing of non-league games, however, cannot be a valid benchmark for the
  7   licensing of NFL games for multiple reasons.
  8           First, as Dr. Rascher acknowledges, the output of a league like the NFL is a
  9   different product with different economics than the output of independently
 10   negotiated bilateral games. Professional sports leagues play critical roles in the
 11   creation of seasons of competition, and Dr. Rascher recognizes that
 12

 13

 14                              Rep. ¶ 37. How such one-off games are licensed is thus not a valid
 15   benchmark for how a season of league play would be licensed.
 16           Second, reliance on the licensing of non-league games ignores a critical
 17   economic difference: A non-league game can be licensed without the participation or
 18   consent of any league. By contrast, as Dr. Rascher has conceded,
 19

 20                                              See ECF. No. 962-13, Rascher 6/28/23 Dep. Tr.
 21   70:13–22; 180:2–7. As a result, situations in which non-league games are licensed
 22   without league involvement cannot be a benchmark for how league games would be
 23   licensed.
 24           Plaintiffs also claim that “whether the teams or the conferences sell the rights
 25   is irrelevant,” since Dr. Rascher asserts
 26                                                                             .” Opp. at 4. “The test for
 27   reliability, however, is not the correctness of the expert’s conclusions but the
 28

                                                         2
       Case No. 2:15-ml-02668-PSG (SKx)             Defendants’ Reply In Support Of Motion In Limine No. 5 To Exclude
                                                    Certain Opinions Of Daniel A. Rascher
Case 2:15-ml-02668-PSG-SK Document 1232-1 Filed 02/09/24 Page 4 of 11 Page ID
                                 #:45541


  1   soundness of his methodology.” Colibri Heart Valve LLC v. Medtronic CoreValve
  2   LLC, 2021 WL 7285995, at *3 (C.D. Cal. Nov. 16, 2021) (cleaned up).
  3           For this reason, identifying a yardstick that “compares the outcome of interest
  4   in the affected market to the same outcome in an unaffected benchmark market” is
  5   absolutely necessary to the Rule 702 inquiry. Sunday Ticket, 2023 WL 1813530, at
  6   *8 n.1. Yet Dr. Rascher has not identified any such yardstick, as he has not identified
  7   any benchmark for how league sports competition is telecast in the absence of joint
  8   licensing. Rather, as Plaintiffs admit, their only purported benchmark involves
  9   contests that “are not ‘league’ games.” Opp. at 3. Plaintiffs’ claim that Dr. Rascher’s
 10   yardstick should be admissible because they believe its results are plausible is simply
 11   not a valid defense of the admissibility of his testimony under Rule 702.
 12           Without an appropriate benchmark market, Plaintiffs cannot satisfy the
 13   requirements of the revised Rule 702 to show that their expert has reliably applied
 14   the yardstick methodology to the facts of this case. See Sunday Ticket, 2023 WL
 15   1813530, at *8 n.1; In re Wholesale Grocery Prod. Antitrust Litig., 946 F.3d 995,
 16   1001–02 (8th Cir. 2019) (even though “[expert’s] qualifications were not questioned
 17   and benchmarking is a recognized tool for proving antitrust injury,” district court did
 18   not abuse its discretion when it excluded expert testimony that “attempt[ed] to
 19   demonstrate a relationship between [the unaffected benchmark market] and [affected
 20   market]” and did not reliably apply the chosen benchmark to the facts of the case).
 21           B.        Dr. Rascher’s but-for world assumes legally impermissible
 22                     outcomes.

 23           Dr. Rascher presumes as part of his but-for worlds absent the challenged
 24   horizontal conduct that individual teams could act alone to license telecast rights,
 25   presenting—for example—but-for worlds in which
 26                               ECF No. 962-4, Rep. ¶ 367; see also, e.g., id. ¶¶ 54, 112, 117,
 27   273, 353, 370, 374–75; ECF No. 962-5, Expert Reply Report of Daniel A. Rascher,
 28   dated June 9, 2023 (“Reply Rep.”) ¶¶ 46, 90, 92, 319, 321, 382, 392–95, 399. But
                                                         3
       Case No. 2:15-ml-02668-PSG (SKx)             Defendants’ Reply In Support Of Motion In Limine No. 5 To Exclude
                                                    Certain Opinions Of Daniel A. Rascher
Case 2:15-ml-02668-PSG-SK Document 1232-1 Filed 02/09/24 Page 5 of 11 Page ID
                                 #:45542


  1   removing the challenged horizontal conduct does not mean that individual teams
  2   obtain unilateral rights to license telecasts. Instead, as both Plaintiffs and Dr. Rascher
  3   concede, the consent of at least two teams and the NFL is required to telecast any
  4   game. See ECF No. 1120-1, Defs.’ Mot. in Limine No. 5 (“Mot.”) at 5. Thus, as
  5   Defendants have explained, see id. at 4–6, allowing Dr. Rascher’s testimony based
  6   on the presumption that teams could license telecasting rights unilaterally violates
  7   the rule that “a party is not entitled to present evidence on an erroneous or
  8   inapplicable legal theory to the jury.” Nationwide Transp. Fin. v. Cass Info. Sys., Inc.,
  9   523 F.3d 1051, 1063 (9th Cir. 2008).
 10           Plaintiffs’ response proves the NFL Defendants’ point. Plaintiffs assert that it
 11   is possible to license telecasts “through contract or consent,” and cite examples such
 12   as college football, historical NFL practices, and preseason games, Opp. at 6–7,
 13   which exist only through such agreements. Indeed, Plaintiffs concede that the
 14   telecasts on which they rely as examples exist only by agreement among multiple
 15   parties because “all these other parties have certain intellectual property, such as team
 16   logos, that appears in each such broadcast.” Id. This response confirms, rather than
 17   refutes, that no individual club can obtain the rights necessary to license a telecast
 18   unilaterally without an agreement between at least two teams and the NFL. See ECF
 19   No. 962-13, Rascher 6/28/23 Dep. Tr. 178:22–180:18.
 20           Tellingly, Dr. Rascher has never identified how these necessary agreements
 21   would be reached, or how his but-for world would increase competition. For
 22   example, Plaintiffs complain that in the real world, the consent of the NFL is
 23   necessary to license telecasts because it is the sole licensor. But Dr. Rascher concedes
 24   that in the but-for world,
 25                                                           . ECF No. 962-13, Rascher 6/28/23
 26   Dep. Tr. 178:22–180:18. He never attempts to explain how these consents would be
 27   provided, or how more competition could arise from requiring consent from more
 28   licensors in the but-for world compared to fewer in the real world.
                                                   4
       Case No. 2:15-ml-02668-PSG (SKx)       Defendants’ Reply In Support Of Motion In Limine No. 5 To Exclude
                                              Certain Opinions Of Daniel A. Rascher
Case 2:15-ml-02668-PSG-SK Document 1232-1 Filed 02/09/24 Page 6 of 11 Page ID
                                 #:45543


  1           Instead, he simply assumes away this critical problem. Plaintiffs do not—and
  2   cannot—deny that Dr. Rascher presumes that in his but-for worlds
  3

  4                                                        ” Rep. ¶ 367. Because Plaintiffs admit
  5   that any telecast licensing arrangement in the but-for world would require an
  6   agreement between two or more entities, Dr. Rascher should not be permitted to
  7   testify based on his presumption to the contrary.
  8           C.        Dr. Rascher failed to account for the protections afforded by the
                        Sports Broadcasting Act when applying his methodology.
  9

 10           Plaintiffs’ opposition also fails to demonstrate that Dr. Rascher’s yardstick
 11   analysis accounts for the NFL’s SBA-protected rights. See In re Live Concert
 12   Antitrust Litig., 863 F. Supp. 2d 966, 974–76 (C.D. Cal. 2012).
 13           Plaintiffs do not dispute the conclusion—reached by two of their experts—that
 14   the NFL would
 15                                                                                                                  .
 16   ECF No. 962-29, Expert Rebuttal Report of Einer Elhauge, dated June 9, 2023
 17   (“Elhauge Rep.”) ¶ 55; Reply Rep. ¶ 430
 18                                                               ; accord ECF No. 962-13, Rascher
 19   6/28/23 Dep. Tr. 84:16-85:1, 182:11–12. At minimum, these concessions should bar
 20   Dr. Rascher from offering any version of the but-for world in which the NFL does
 21   not enter into SBA-protected CBS and FOX agreements.
 22           But these concessions also demonstrate that Plaintiffs cannot satisfy the
 23   requirements of the revised Rule 702 to demonstrate the reliability of Dr. Rascher’s
 24   but-for world more generally. Dr. Rascher conceded that
 25

 26                           Rep. ¶ 306. Undisputedly, NFL football involves SBA-protected
 27   agreements, while college football does not. Yet Plaintiffs fail to identify any attempt
 28   by Dr. Rascher to incorporate such controls in comparing them.
                                                      5
       Case No. 2:15-ml-02668-PSG (SKx)          Defendants’ Reply In Support Of Motion In Limine No. 5 To Exclude
                                                 Certain Opinions Of Daniel A. Rascher
Case 2:15-ml-02668-PSG-SK Document 1232-1 Filed 02/09/24 Page 7 of 11 Page ID
                                 #:45544


  1           Instead, Plaintiffs cite only an unsupported assertion from Dr. Rascher that the
  2   different incentives that arise from the SBA’s protection do not matter. Opp. at 8–9.
  3   That ipse dixit cannot satisfy Plaintiffs’ burden to demonstrate admissibility. See
  4   Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997). Neither can Plaintiffs’ assertion
  5   that Dr. Rascher considered the question “in [his] prior report,” Opp. at 9 (quoting
  6   Reply Rep. ¶ 416), as that prior report mentions the SBA in only two paragraphs of
  7   the analytical sections of his report, and in neither case did Dr. Rascher attempt—as
  8   required for reliability—to control for the effect that statute would have on the NFL’s
  9   but-for incentives. See Rep. ¶¶ 202, 286.
 10           Ultimately, Plaintiffs admit that the SBA will have significant impacts on the
 11   NFL’s incentives for licensing NFL telecasts in the but-for world. See, e.g., Reply
 12   Rep. ¶ 430. They admit that those incentives do not apply to the college conferences
 13   at the heart of their yardstick approach. And they fail to identify any actual, economic
 14   analysis from Dr. Rascher that controls for this critical “
 15                                             ” Rep. ¶ 306. This failure leaves them unable
 16   to satisfy the requirements of the revised Rule 702, which places on them the burden
 17   to prove that Dr. Rascher reliably applied his methodology.
 18   II.     Plaintiffs Have Not Satisfied Rule 702 With Respect To Dr. Rascher’s
 19           Opinions Regarding Damages.

 20           Plaintiffs’ opposition fails to justify either of Dr. Rascher’s damages
 21   calculations. Most egregiously, Plaintiffs’ own authority confirms that it was
 22   inappropriate for Dr. Rascher to rely on Dr. Zona’s calculations without
 23   independently verifying the reliability of those analyses. See Opp. at 10. In ConAgra,
 24   the court excluded an expert’s asserted reliance on surveys conducted by others
 25   where “there [wa]s no indication in his declaration that he ha[d] independently tested
 26   or evaluated the results of the surveys.” In re ConAgra Foods, Inc., 302 F.R.D. 537,
 27   556 (C.D. Cal. 2014); see also id. (collecting authority); Mot. at 8 (citing additional
 28   authority).
                                                   6
       Case No. 2:15-ml-02668-PSG (SKx)       Defendants’ Reply In Support Of Motion In Limine No. 5 To Exclude
                                              Certain Opinions Of Daniel A. Rascher
Case 2:15-ml-02668-PSG-SK Document 1232-1 Filed 02/09/24 Page 8 of 11 Page ID
                                 #:45545


  1           Plaintiffs assert, without evidence, that Dr. Rascher in fact “independently
  2   reviewed Dr. Zona’s method and conclusions.” Opp. at 10. But in the sole paragraph
  3   from his report that Plaintiffs rely on as proof, Dr. Rascher does not engage in any
  4   “independent review.” Instead, he simply repeats Dr. Zona’s conclusions before
  5                                                                             . See Rep. ¶ 406 (cited
  6   at Opp. at 10); see also Victory Dollar Inc. v. Travelers Cas. Ins. Co. of Am., 2023
  7   WL 9003011, at *4 (C.D. Cal. Dec. 7, 2023) (excluding expert who “offer[ed]
  8   virtually no justification for the methodology he used to reach his alternative
  9   calculation,” recognizing that “[a] jury does not need help with simple mathematics
 10   as to which there is no dispute.” (citation and internal quotation marks omitted)). Dr.
 11   Rascher’s failure to independently analyze Dr. Zona’s models leaves him unable to
 12   testify reliably to damages calculations based on those models.
 13           Moreover, Plaintiffs cannot deny that Dr. Rascher did not analyze Dr. Zona’s
 14   critical assumption that the NFL would rely on a fixed licensing fee—rather than a
 15   per-subscriber fee—in the but-for world. Their brief footnote on this point does not
 16   cite any analysis from Dr. Rascher on this issue. Opp. at 10 n.2. Nor do they offer
 17   any justification for the fact that Dr. Rascher relied on Dr. Zona’s results to calculate
 18   damages for the No-Exclusivity But-For World, even though Dr. Zona testified that
 19   he did not know whether his models were appropriate for that scenario. See ECF
 20   No. 1153-7, Zona 6/23/23 Dep. Tr. 288:15–289:17. Thus, any of Dr. Rascher’s
 21   damages calculations that are based on Dr. Zona’s models should be excluded.
 22   III.    Plaintiffs Have Not Satisfied Rule 702 With Respect To Dr. Rascher’s
 23           Opinions On The Commercial Class.

 24           Dr. Rascher asserts
 25

 26            Opp. at 10–11 (citing Rep. ¶¶ 150–52; Reply Rep. ¶¶ 11, 265, 410.) None of
 27   the paragraphs from Dr. Rascher’s opening report discusses damages issues at all. Of
 28   the three paragraphs cited in Dr. Rascher’s reply report, one mentions in passing
                                                   7
       Case No. 2:15-ml-02668-PSG (SKx)       Defendants’ Reply In Support Of Motion In Limine No. 5 To Exclude
                                              Certain Opinions Of Daniel A. Rascher
Case 2:15-ml-02668-PSG-SK Document 1232-1 Filed 02/09/24 Page 9 of 11 Page ID
                                 #:45546


  1   commercial customers’ subscription options in the post-damages period, see Reply
  2   Rep. ¶ 265, and the other two contain conclusory statements that Dr. Rascher’s
  3   damages analysis “
  4

  5

  6             id. ¶ 410; see also id. ¶ 11 (similar statement from the report’s introduction).
  7           Dr. Rascher’s conclusory assertion that his analysis should                                           ”
  8                                       contains none of the analysis that would be necessary to
  9   support a billion-dollar damages claim under the revisions to Rule 702. It does not
 10   address the distinctions raised by Defendants regarding the different costs associated
 11   with supplying Sunday Ticket to commercial establishments, the different reasons
 12   for purchasing the product, the different prices of the product, and the different
 13   pricing structure of the product. See Mot. at 9–10.
 14           For example, Dr. Rascher’s assumption that his analysis
 15   ignores the specific marketing support and free promotional materials that
 16   commercial subscribers—but not residential subscribers—obtained from DirecTV as
 17   a result of the incentives that DirecTV had to promote Sunday Ticket as the exclusive
 18   distributor of that product. See ECF No. 962-10, Expert Report of B. Douglas
 19   Bernheim ¶¶ 64, 541–44. Dr. Rascher makes no effort to analyze whether the same
 20   commercial support would have been available in the absence of the challenged
 21   conduct. Similarly, Dr. Rascher ignores the fact that commercial subscribers
 22   typically demand a bundle of all out-of-market telecasts, rather than single team-
 23   packages. See id. ¶ 564; see also ECF No. 1153-4, Rascher 10/3/22 Dep. Tr. 70:5–
 24   15. In the absence of any analysis of these important differences in the product
 25   demanded by commercial versus consumer subscribers, Plaintiffs cannot satisfy their
 26   burden under the revised Rule 702 to “demonstrate[] to the court” that Dr. Rascher’s
 27   damages analysis “reflects a reliable application of the principles and methods to the
 28   facts of the case.”
                                                         8
       Case No. 2:15-ml-02668-PSG (SKx)             Defendants’ Reply In Support Of Motion In Limine No. 5 To Exclude
                                                    Certain Opinions Of Daniel A. Rascher
Case 2:15-ml-02668-PSG-SK Document 1232-1 Filed 02/09/24 Page 10 of 11 Page ID
                                  #:45547


  1           Plaintiffs cannot cite even a single case in which a court has permitted an
  2   expert to submit such a substantial damages claim to a jury supported by nothing
  3   more than conclusory assertions. This Court should not be the first.
  4

  5

  6

  7

  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28

                                                 9
       Case No. 2:15-ml-02668-PSG (SKx)     Defendants’ Reply In Support Of Motion In Limine No. 5 To Exclude
                                            Certain Opinions Of Daniel A. Rascher
Case 2:15-ml-02668-PSG-SK Document 1232-1 Filed 02/09/24 Page 11 of 11 Page ID
                                  #:45548


  1   Dated: February 9, 2024             Respectfully submitted,
  2                                       /s/ Beth A. Wilkinson
  3                                       Beth A. Wilkinson (admitted pro hac vice)
                                          Rakesh N. Kilaru (admitted pro hac vice)
  4                                       Brian L. Stekloff (admitted pro hac vice)
                                          Jeremy S. Barber (admitted pro hac vice)
  5                                       Max J. Warren (admitted pro hac vice)
                                          WILKINSON STEKLOFF LLP
  6
                                          2001 M Street NW, 10th Floor
  7                                       Washington, DC 20036
                                          Telephone: (202) 847-4000
  8                                       Facsimile: (202) 847-4005
                                          bwilkinson@wilkinsonstekloff.com
  9                                       rkilaru@wilkinsonstekloff.com
 10
                                          bstekloff@wilkinsonstekloff.com
                                          jbarber@wilkinsonstekloff.com
 11                                       mwarren@wilkinsonstekloff.com
 12                                       Neema T. Sahni (Bar No. 274240)
                                          COVINGTON & BURLING LLP
 13
                                          1999 Avenue of the Stars
 14                                       Suite 1500
                                          Los Angeles, CA 90067-6045
 15                                       Telephone: (424) 332-4800
                                          Facsimile: (424) 332-4749
 16                                       nsahni@cov.com
 17
                                          Gregg H. Levy (admitted pro hac vice)
 18                                       Derek Ludwin (admitted pro hac vice)
                                          John S. Playforth (admitted pro hac vice)
 19                                       COVINGTON & BURLING LLP
                                          One CityCenter
 20
                                          850 Tenth Street NW
 21                                       Washington, DC 20001
                                          Telephone: (202) 662-6000
 22                                       Facsimile: (202) 662-6291
                                          glevy@cov.com
 23                                       dludwin@cov.com
 24                                       jplayforth@cov.com

 25                                       Counsel for Defendants National Football
                                          League, NFL Enterprises LLC, and the
 26                                       Individual NFL Clubs
 27

 28

                                              10
       Case No. 2:15-ml-02668-PSG (SKx)   Defendants’ Reply In Support Of Motion In Limine No. 5 To Exclude
                                          Certain Opinions Of Daniel A. Rascher
